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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                            Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                       DECLARATION OF JIA RYU

            I, Jia Ryu, hereby declare pursuant to 28 U.S.C. § 1746 that the following statements are

     true and correct to the best of my personal knowledge and belief:

            1.         I am an attorney at Oppenheim + Zebrak, LLP, and am admitted to practice law in

     the District of Columbia, among other jurisdictions.

            2.         I submit this declaration in support of Plaintiffs’ Reply in support of their Motion

     for Sanctions, which is filed contemporaneously herewith.

            3.         On February 15, 2019, the Court ordered Defendants (“Cox”) to produce copyright

     infringement notice data for individual Cox subscribers with corresponding ICOMS IDs. (Feb. 15,

     2019 Hearing Tr. at 12–13, relevant pages attached as Exhibit A.) The Court also ordered Cox to

     produce data concerning its monthly billings to the individual Cox subscribers identified in

     Plaintiffs’ infringement notices. (Exhibit A at 26–27.)

            4.         Yesterday at 4:16 p.m., Cox produced 8 spreadsheets to Plaintiffs. (See April 3,

     2019 email from R. Benjamin to J. Gould, attached as Exhibit B.) Cox refers to these spreadsheets

     collectively as the “ICOMS customer billing report.” (See April 3, 2019 email from J. Golinveaux
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 to J. Gould, attached as Exhibit C.) The spreadsheets contain over 4 million rows of data, each

 with up to 42 undefined variables (i.e. data fields).

        5.        Although Cox identifies these spreadsheets as ICOMS reports, there is no data

 field column for ICOMS IDs.         A Cox document with screenshots of CATS abuse ticket

 information (bates number COX_SONY_00006776), an excerpt of which was attached to

 Plaintiffs’ reply brief on its motion to compel subscriber revenue data, indicates that the “ICOMS

 ID” is a number consisting of 10 to 12 digits. (ECF No. 105-4). The infringement notice data that

 Cox provided from its CATS database pursuant to this Court’s discovery order includes a data

 column titled “icoms_id” that lists in each row a number consisting of 10 to 12 digits. But each

 ICOMS customer billing report spreadsheet that Cox produced yesterday contains a column listing

 “Account Numbers” that are only 5 to 8 digits long, noticeably shorter than the 10 to 12-digit

 ICOMS IDs recorded in other documents produced by Cox.

        6.      At 6:30 p.m. yesterday (a little over two hours after producing the spreadsheets),

 Cox sent Plaintiffs the email attached hereto as Exhibit C.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

        Executed on April 4, 2019 in Washington, District of Columbia.



                                                 /s/ Jia Ryu
